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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                    )
 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )
                                                    )
         Plaintiffs/Counter-Defendants,             )
                                                    )   Case No. 1:21-cv-0040 (CJN)
 v.                                                 )
                                                    )
 SIDNEY POWELL, SIDNEY POWELL,                      )
 P.C., and DEFENDING THE REPUBLIC,                  )
 INC.,                                              )
                                                    )
        Defendants/Counter-Plaintiffs.              )
                                                    )

                              PARTIES’ JOINT STATUS REPORT

       Pursuant to Magistrate Judge Moxila A. Upadhyaya’s September 13, 2024, Minute Order,

Plaintiffs U.S. Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems

Corporation (“Dominion”) and Defendants Sidney Powell, Sidney Powell, P.C., Defending the

Republic (“Defendants”) hereby submit this Joint Status Report. The Parties propose that the Court

take up the issues in the order listed in the chart below.

     Parties Involved                          Issue                        Resolution Status
 All parties in the cases     Whether to extend pre-trial deadlines     Pending before the Court.
 that have been               as proposed by Dominion in a
 consolidated /               September 10, 2024, email
 coordinated for              submission to the Court and agreed to
 discovery purposes           by some defendants.
 Dominion, Powell, and        Dominion requests to move                 There is not agreement on
 Powell, P.C.                 depositions of the Powell parties until   this issue. The parties will
                              after the September 30, 2024              submit an email on this
                              discovery deadline.                       issue to Your Honor on
                                                                        9/19/24.

 Dominion and DTR             Dominion requests to move DTR’s           There is not agreement on
                              30(b)(6) deposition until after the       this issue. The parties will
                                                                        submit an email on this
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                        September 30, 2024 discovery              issue to Your Honor on
                        deadline.                                 9/19/24.
Dominion, Powell,       Deposition dates of third-party           Counsel for Dominion,
Powell P.C., and DTR    witnesses Brandon Johnson and Julie       DTR, Ms. Powell and
                        Haller:                                   Powell P.C. have met and
                                                                  conferred. None of these
                        Counsel for the witnesses have            parties oppose moving the
                        advised that they are not available for   deposition dates.
                        deposition on or before September 30
                        due to conflicts. Mr. Johnson’s
                        counsel has represented that he is not
                        available in October or November; his
                        counsel has agreed to a December 3,
                        2024, deposition. Ms. Haller’s
                        counsel has indicated that she is
                        available on or after November 15,
                        2024.


Dated: September 18, 2024                       Respectfully submitted,

                                                /s/ Davida Brook
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                                    Attorneys for Defendant Sidney Powell and Sidney
                                    Powell, PC




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                                                     Counsel for Defendant Defending the Republic, Inc


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of September 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.


                                                               /s/ Davida Brook




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